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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Joseph H. Rodriguez
Vv. > Crim. No. 98-00135-01
JAMES MALONE : ORDER

On May 20, 2009, the Court received a letter from James Malone requesting early
termination of his supervision, which was ordered on November 10, 1998, At that time he was
sentenced to 105 months imprisonment to be followed by five years of supervised release for
Bank Robbery-Assault with a Deadly Weapon.

On July 18, 2006 he was released from custody of the Federal Bureau of Prisons and his
term of supervised release commenced in the Eastern District of Pennsylvania.

The Court has considered the circumstances of this case and has determined to deny the
request at this time for the following reasons:

The offender has committed seven prior bank robberies in the last 20 years; during the
commission of all his bank robberics the offender used threats of violence; the offender
previously violated his last term of supervised release (D/NJ 92-CR-447-001) by committing the
instant offense in less than four months after he had been released from custody.

In addition, Mr. Malone does not offer any extraordinary circumstances or evidence as to
why his supervision should be terminated early. Mere compliance with the terms of supervision

is required and is not sufficient reason to grant early termination.

 
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IT IS THEREFORE ORDERED on this 8" day of July, 2009 that James Malone's request

fr early termination of his supervision is DENIED.

 
  

 

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